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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 LYNDA RUSSO and KL ASSOCIATES                    )
 LIMITED, LLC,                                    )
                                                  )
                                 Plaintiffs,      )
                                                  )    No. 23 C 3507
                       v.                         )
                                                  )    Judge Valderrama
 UNITED STATES SMALL BUSINESS                     )
 ADMINISTRATION,                                  )
                                                  )
                                 Defendant.       )

                  DEFENDANT’S AGREED MOTION FOR SECOND
               EXTENSION OF TIME TO FILE RESPONSIVE PLEADING

       Defendant U.S. Small Business Administration, by its attorney, Morris Pasqual, Acting

United States Attorney for the Northern District of Illinois, submits this agreed motion for a second

30-day extension of time to answer or otherwise respond to the complaint. In support of this

motion, SBA states as follows:

       1.      This is a case under the Freedom of Information Act, 5 U.S.C. § 552, seeking

documents relating to pandemic-related loan programs. The court previously granted SBA a 30-

day extension of time to file a responsive pleading to allow SBA to assess a recent administrative

decision resolving the FOIA appeal referenced in the complaint and the implications of that

decision for plaintiffs’ claims in this case. Dkt. 7, 8. SBA’s current responsive pleading deadline

is this Friday, September 8, 2023, and a joint initial status report is due September 15. Dkt. 8.

       2.      SBA’s assessment is that the administrative decision relating to the FOIA appeal

has resolved many of plaintiffs’ claims in this case. Additionally, based on discussions between

counsel, SBA has produced additional documents that may be responsive to plaintiffs’ FOIA
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requests in a good-faith effort to resolve this case. SBA has also issued an administrative response

to a FOIA request referenced in the complaint that was not previously assigned a tracking number.

       3.      In light of these developments and the parties’ progress to date, SBA requests a

second 30-day extension of time, through and including October 10, 2023 (because Monday,

October 9, is Columbus Day), to respond to the complaint. Plaintiffs agree to this motion and have

indicated that, even if they were to proceed with this case, they would need to file a supplemental

complaint under Fed. R. Civ. P. 15(d), given the recent administrative decisions and SBA’s

document production. The requested extension thus will allow the parties to focus on a potential

resolution of this case, rather than filing and answering a supplemental complaint. An extension

will also conserve the court’s resources and therefore serve the interest of judicial economy.

       WHEREFORE, SBA requests a second 30-day extension of time, through and including

October 10, 2023, to file a responsive pleading.

                                              Respectfully submitted,

                                              MORRIS PASQUAL
                                              Acting United States Attorney

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